              Case 07-11047-CSS       Doc 1055-5      Filed 10/02/07    Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

AMERICAN HOME MORTGAGE HOLDINGS,                         Case No. 07-11047 (CSS)
INC., a Delaware corporation., et al.,
                                                         (Jointly Administered)
                      Debtors.
                                                         Hearing Date: October 17, 2007 at 10:00 am
                                                         Objection Due: October 12, 2007 at 4:00 pm

 NOTICE OF MOTION OF UNITED HEALTH GROUP FOR (I) RELIEF FROM STAY
     TO EXERCISE SETOFF RIGHTS PURSUANT TO SECTION 553 OF THE
          BANKRUPTCY CODE AND (II) OTHER RELATED RELIEF

               PLEASE TAKE NOTICE that on October 2, 2007, United Health Group

(“United”) filed its motion for (I) Relief From Stay to Exercise Setoff Rights Pursuant to Section

553 of the Bankruptcy Code and (II) Other Related Relief (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the

Motion will beheld on Wednesday, October 17, 2007 , at 10:00 a.m. (Prevailing Eastern Time)

(the “Hearing”) before the Honorable Christopher S. Sontchi, United States Bankruptcy Court

for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington,

Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to approval of the

Motion (a) must be in writing, (b) must conform to the Federal Rules of Bankruptcy Procedure,

the Local Bankruptcy Rules for the District of Delaware and (c) must be filed and served so as to

be received no later than 4:00 p.m. (EST) on October 12, 2007 (the “Objection Deadline”).




490284 v. 3
                Case 07-11047-CSS    Doc 1055-5    Filed 10/02/07     Page 2 of 2




         PLEASE TAKE FURTHER NOTICE that only those objections made in writing, and

timely filed and received by the Objection Deadline will be considered by the Bankruptcy Court

at the Hearing. IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED AND

SERVED IN ACCORDANCE WITH THE PROCEDURES SET FORTH HEREIN, THE

BANKRUPTCY COURT MAY ENTER AN ORDER GRANTING THE MOTION

WITHOUT FURTHER NOTICE.


Dated: October 2, 2007                     DORSEY & WHITNEY (DELAWARE) LLP


                                           By___/s/__________________
                                              Eric Lopez Schnabel (Del. No. 3672)
                                           1105 North Market Street, 16th Floor
                                           Wilmington, DE 19801
                                           Telephone: (302) 425-7162
                                           Facsimile: (302) 355-0830

                                                  and

                                           Steven J. Heim, Esq.
                                           Michelle Kreidler Dove , Esq.
                                           Dorsey & Whitney LLP
                                           50 South Sixth Street, Suite 1500
                                           Minneapolis, MN 55402-1498
                                           Telephone: (612) 340-2600
                                           Facsimile: (612) 340-2868

                                           Attorneys for United Health Group




4824-0282-4193\1 10/2/2007 1:29 PM            2
